Case 10-82119   Doc 92   Filed 04/07/16   Page 1 of 5
Case 10-82119   Doc 92   Filed 04/07/16   Page 2 of 5
Case 10-82119   Doc 92   Filed 04/07/16   Page 3 of 5
Case 10-82119   Doc 92   Filed 04/07/16   Page 4 of 5
                   Case 10-82119      Doc 92      Filed 04/07/16     Page 5 of 5




                          UNITED STATES BANKRUPTCY COURT
                         MIDDLE DISTRICT OF NORTH CAROLINA
                                  DURHAM DIVISION


IN RE:                                                CASE NO. 10-82119
CONNIE ANN CUMMINGS                                   CHAPTER 13
              DEBTOR


                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies under penalty of perjury that he/she is over eighteen
(18) years of age and that the RESPONSE TO NOTICE OF FINAL CURE PAYMENT in the
above captioned case were this day served upon the below named persons by mailing, postage
prepaid, first class mail a copy of such instrument to each person(s), parties, and/or counsel at the
addresses shown below:

Connie Ann Cummings
PO Box 110294
Durham, NC 27709

John T. Orcutt
6616-203 Six Forks Rd.
Raleigh, NC 27615

Richard M. Hutson, II
302 East Pettigrew St., Suite B-140
P. O. Box 3613
Durham, NC 27702


This the 7th day of April, 2016.


                                            /s/ Danielle Vasquez
                                            Danielle Vasquez
                                            Brock & Scott, PLLC
                                            5121 Parkway Plaza Blvd., Suite 300
                                            Charlotte, NC 28217
                                            Ph: (704) 643-0290
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